Case 8:16-cv-03510-JDW-TBM Document 10 Filed 05/02/17 Page 1 of 2 PageID 32



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

TOYKIA SPELLMAN,
                                                     CASE NO.: 8:16-cv-03510-JDW-TBM
       Plaintiff,

v.

GTE FEDERAL CREDIT UNION,

      Defendant.
________________________________/

           STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       It is hereby stipulated and agreed, by and between the parties and/or their respective

counsel(s) that the above-captioned action is voluntarily dismissed, with prejudice, as to GTE

Federal Credit Union, pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(ii). Each party is to bear their own

fees and costs except as otherwise agreed upon between the parties prior to this stipulation.

Dated: May 2, 2017                                    Respectfully Submitted,

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Case 8:16-cv-03510-JDW-TBM Document 10 Filed 05/02/17 Page 2 of 2 PageID 33



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 2, 2017, I presented a true and correct copy of the

foregoing to the Clerk of the United States District Court for the Middle District of Florida Tampa

Division, for filing and uploading to the CM/ECF system.


                                     /s/ Pamela N. Westfall
                                     Attorney




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